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                                                      -U.S. Department of Justice

                                                      Andrew E. Lelling
                                                      United States Attorney
                                                      District of Massachusetts

Main Reception: (617) 748-3100                        John Joseph Moakley United States Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      March 5, 2020
Mark A. Berthiaume
Greenberg Traurig
One International Place, Suite 2000
Boston, MA 02110

                    Re: U.S. v. Tanmaya Kabra, 19-cr-10335
Dear Mark:

       I am writing to respond to your letter dated February 20, 2020 regarding the above-
captioned matter. Responses to the specific requests set forth in your letter are below.

Discovery Requests:

       Response to Request No. 1: The government will continue to produce all automatic
discovery required under Local Rule 116.1(c), including all of the materials and information to
which the defendant is entitled under Federal Rule of Criminal Procedure 16(a)(1). The
government anticipates that it will produce additional materials in this case and anticipates
doing so not later than March 13, 2020.

        Response to Request No. 2: At this time, a date for trial has not been set and the
government has not identified what witnesses it anticipates it will or may call in its case-in-
chief. Accordingly, this request, which seeks disclosure of materials or information that may be
subject to the Jencks Act, and Giglio v. United States, 405 U.S. 150 (1972) is premature.

       The government proposes that it be required to disclose the identity of witnesses it
intends to call in its case-in-chief at trial not less than 60 days prior to trial and that it be
required to produce any material subject to the Jencks Act and/or Giglio v. United States, 405
U.S. 150 (1972) at that time.

         Response to Request No. 3: All documents and materials presented to the grand jury
concerning the investigation of crimes committed by Mr. Kabra and/or Launchbyte.io LLC or
affiliated entities have been produced to the defendant. The government will produce electronic
copies of the “stickered” versions of those exhibits as presented to the grand jury and will do so
not later than March 13, 2020.

      Response to Request Nos. 4-6: At this time, a date for trial has not been set and the
government has not identified what witnesses it anticipates it will or may call in its case-in-
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chief. Accordingly, to the extent that this request seeks disclosure of materials or information
subject to the Jencks Act, and Giglio v. United States, 405 U.S. 150 (1972), it is premature.

       The government proposes that it be required to disclose the identity of witnesses it
intends to call in its case-in-chief at trial not less than 60 days prior to trial and that it be
required to produce any material subject to the Jencks Act and/or Giglio v. United States, 405
U.S. 150 (1972) at that time.

        The government understands and will continue to abide by its obligations to produce
exculpatory information pursuant to Brady v. Maryland, 373 U.S. 83 (1963), United States v.
Osorio, 929 F.2d 753, 762 (1st Cir. 1991), and Local Rules 116.1 and 116.2. The government
will continue to review memoranda of interviews relating to the investigation of crimes
committed by Mr. Kabra and/or Launchbyte.io LLC or affiliated entities and will continue to
make any disclosures required under these rules.

        Response to Request No. 7: This request seeks disclosures beyond any legal obligation
imposed upon the government under the Federal Rules of Criminal Procedure, the United States
Constitution (including as applied in Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United
States, 405 U.S. 150 (1972) and United States v. Osorio, 929 F.2d 753 (1st Cir. 1991)) or any
other rule or law. The government, accordingly, will not make any disclosure in response to this
request.

        Response to Request No. 8: This request seeks disclosures beyond any legal obligation
imposed upon the government under the Federal Rules of Criminal Procedure, the United States
Constitution (including as applied in Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United
States, 405 U.S. 150 (1972) and United States v. Osorio, 929 F.2d 753 (1st Cir. 1991)) or any
other rule or law. The government, accordingly, will not make any disclosure in response to this
request.

        Response to Request No. 9: To the extent that it is aware of it, the government has and
will produce all of the categories of information and materials that are made subject to
disclosure by Federal Rule of Criminal Procedure 16 and all exculpatory information within the
meaning of Brady v. Maryland, 373 U.S. 83 (1963), United States v. Osorio, 929 F.2d 753, 762
(1st Cir. 1991), and Local Rule 116.2 that is within the possession of the Securities and
Exchange Commission.

       Except to the extent set forth above, the government will not produce material or
information in response to this request, which extends beyond the appropriate bounds of
discovery.

       Response to Request No. 10: As set forth in the parties’ joint interim status report
(Doc. No. 75), the government contends that the request for disclosure of expert testimony
under Federal Rules of Evidence 702, 703, and 705 is premature and proposes it make any
expert witness disclosures 45 days prior to trial and that defendant provide any expert witness
disclosures 30 days prior to trial.

        Response to Request No. 11: This request seeks disclosures beyond any legal
obligation imposed upon the government under the Federal Rules of Criminal Procedure, the
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United States Constitution (including as applied in Brady v. Maryland, 373 U.S. 83 (1963),
Giglio v. United States, 405 U.S. 150 (1972) and United States v. Osorio, 929 F.2d 753 (1st Cir.
1991)) or any other rule or law. The government, accordingly, will not make any disclosure in
response to this request.

       Response to Request No. 12: The government contends that this request that the
government identify evidence of prior bad acts that it intends to introduce pursuant to Federal
Rule of Evidence 404(b) is premature. The government proposes that it should make such
disclosures no later than 21 days before the trial date in accordance with Local Rule
117(a)(4)(B).

Request for a Bill of Particulars

        “The purpose of a bill of particulars is to provide the accused with detail of the charges
against him where necessary to enable him to prepare his defense, to avoid surprise at trial, and
to protect against double jeopardy.” United States v. Pavia, 892 F.2d 148, 154 (1st Cir. 1993).
Such relief need be employed only “where the charges of the indictment are so general that they
do not advise the defendant of the specific acts of which he is accused.” United States v. Torres,
901 F.2d 205 (2nd Cir. 1990) (internal citations omitted). “Acquisition of evidentiary detail is
not the function of the bill of particulars.” Id. (internal citations omitted). See also United
States v. Smith, 776 F.2d 1104, 1111 (3rd Cir. 1985) (“A bill of particulars, unlike discovery, is
not intended to provide the defendant with the fruits of the government's investigation …
Rather, it is intended to give the defendant only that minimum amount of information necessary
to permit the defendant to conduct his own investigation.” (internal citations omitted; Emphasis
in original)). Moreover, because of the hemming effect of a bill of particulars “judges are
reluctant to order particulars which, in their requirement for detail or otherwise, amount to the
imposition of a straitjacket on the prosecution.” U.S. v. Ackerly, No. 16-10233-RGS, •2017 WL
5484673, at *3 (D. Mass. Nov. 15, 2017) (Stearns, J.).

        Here, the indictment is more than sufficient to apprise you and your client of the charges
against him, to prevent surprise, and to protect him against double jeopardy. Indeed, the
indictment provides much of the information that your letter requests—such as the nature of
misrepresentations made by Mr. Kabra to Investors 1-4 and the use of funds that he received
from them. See, e.g., Indictment ¶¶ 8-9, 15-16, 18, 21-22, 24-25, 28-29, 32-33, 36, 39.

        Given the above, the government, under separate cover and not later than March 13,
2020, will provide only the following information in response to your request for a bill of
particulars:

       Paragraph 3: The government will identify by name the individuals referred to as
Victims 1-4 in the Indictment.

       Paragraph 17: The government will identify by name the third party from whom Mr.
Kabra received a wire in the amount of $75,000 as described in Paragraph 17 of the Indictment.

        Paragraph 25: The government will provide information concerning the identity of
“start-up compan[y]” and “the large, well-known company” described in Paragraph 25 of the
Indictment.
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       I am available at your convenience to discuss your requests and the government’s
responses.



                                                   Very truly yours,

                                                   ANDREW E. LELLING
                                                   United States Attorney

                                           By:     /s/ Chris Looney _____
                                                    Christopher Looney
                                                    Assistant U.S. Attorney




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